     Case 3:22-cv-04792-RS          Document 103-1       Filed 03/22/24     Page 1 of 2



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 6
                                  UNITED STATES DISTRICT COURT
 7                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
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 9    Michael Katz-Lacabe and Dr. Jennifer        Case No. 3:22-cv-04792-RS
      Golbeck, on behalf of themselves and all
10    others similarly situated,                  [PROPOSED] ORDER GRANTING THE
                                                  ADMINISTRATIVE MOTION TO FILE
11                                                DEFENDANT’S SURREPLY RESPONSE
                      Plaintiffs,                 UNDER SEAL
12             vs.
                                                  Judge: Hon. Richard Seeborg
13    ORACLE AMERICA, INC., a corporation
      organized under the laws of the State of    Date: March 28, 2024
14    Delaware,                                   Time: 1:30pm
15                                                Courtroom: 3
                      Defendant.
16                                                Date Action Filed: August 19, 2022
                                                  Trial Date: None set
17

18
            Defendant filed an Administrative Motion To Consider Whether Plaintiffs’ Material Should
19
     Be Sealed in Defendant’s Surreply Response pursuant to Civil Local Rules 7-11 and 79-5. Upon
20
     consideration of the Administrative Motion and the papers submitted in support, IT IS HEREBY
21
     ORDERED that portions of Defendant’s Surreply Response are to be sealed as follows:
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23
               Page            Information from Oracle’s Records                   Sealed
24
      Page 8                  ORCL_KATZ000160571, Row 36033
25

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28
                                                              [PROPOSED] ORDER GRANTING ADMIN. MOTION
                                                   -1-                             TO FILE UNDER SEAL;
                                                                                  CASE NO. 3:22-CV-04792
     Case 3:22-cv-04792-RS    Document 103-1     Filed 03/22/24     Page 2 of 2



 1         IT IS SO ORDERED.

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     Dated: March ___, 2024              __________________________________
 5                                       Honorable Richard Seeborg
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                                                      [PROPOSED] ORDER GRANTING ADMIN. MOTION
                                           -2-                             TO FILE UNDER SEAL;
                                                                          CASE NO. 3:22-CV-04792
